            Case 1:22-cr-10136-DPW Document 31 Filed 01/24/23 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Criminal No. 22-cr-10136-DPW
                                              )
VANDO GVOZDAREVIC,                            )
                                              )
                                              )
                Defendant.                    )


                    GOVERNMENT’S SENTENCING MEMORANDUM

       In accordance with the plea agreement in this case (Doc. 15), the government joins the

defendant to recommend a sentence of 120 months of imprisonment, 5 years of supervised

release, and a mandatory special assessment of $100. The defendant has also agreed to forfeit to

the government, the items detailed in paragraph 5 of the plea agreement.

       I.       ADVISORY SENTENCING GUIDELINES

       The government agrees with the PSR’s calculations of the defendant’s offense level and

criminal history category. The defendant is responsible for 9,213.75 kilograms of converted

drug weight. PSR ¶ 17. His base offense level is 32. PSR ¶ 17. The defendant is also entitled

to a three-level acceptance of responsibility reduction. PSR ¶ 24-25. The defendant’s total

offense level is 29. PSR ¶ 52. The defendant’s criminal history results in a criminal history

score of nine. Further, the defendant was on probation at the time of the instant offense resulting

in a further 2 criminal history points. The defendant is therefore in criminal history category V.

PSR ¶ 38. The advisory guideline imprisonment range is 140 to 175 months. PSR ¶ 81.
             Case 1:22-cr-10136-DPW Document 31 Filed 01/24/23 Page 2 of 5




         II.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

         Consideration of the § 3553(a) factors demonstrates that a sentence of 120 months is

sufficient, but not greater than necessary, to meet the goals of sentencing.

         A.       Nature of the Offense

         The defendant engaged in very dangerous behavior. The facts leave little doubt that the

defendant had access to large quantities of fentanyl and methamphetamine pills. The Court is

well aware of the dangers that fentanyl poses to communities in this district. Families across this

district are stricken with the tragedies caused by the opioid epidemic that has lingered for years

in the form of overdose deaths, violence, and crime. 1

         The defendant not only trafficked in this deadly substance, he had them in the form of

counterfeit pills. These counterfeit pills are dangerous because they increase the risk of overdose

by those seeking diverted pharmaceutical pills, young people unfamiliar with street narcotics,

and others who are unfamiliar with powder fentanyl and methamphetamine. 2 The defendant’s

offenses are serious, they are dangerous, and a sentence of 10 years sends a clear message that he

cannot continue with his behavior.

         B.       Characteristics of the Defendant

         The defendant is 30 years old and from his PSR, appears to come from an unstable

household. PSR ¶ 51-57. This is not the defendant’s first time incarcerated for drug distribution.

He was previously sentenced to 5 years in state prison for drug distribution and firearm offenses.

PSR ¶ 34-35. He was released from that prison sentence in 2020 and is currently on probation.


         1
             https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm (last accessed January 24,
2023).
         2
             https://www.dea.gov/onepill (last accessed January 24, 2023).

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          Case 1:22-cr-10136-DPW Document 31 Filed 01/24/23 Page 3 of 5




During that most recent sentence, the defendant had a significant record of disciplinary reports,

and he did not avail himself to programming or employment. PSR ¶ 34.

        The defendant would be wiser to take advantage of the sentence imposed by the Court to

receive educational, vocational, mental health, and substance abuse services while incarcerated

with the Bureau of Prisons. The government commends the defendant for recognizing his need

for mental health and substance abuse treatment. PSR ¶ 64, 72.

        C.      Specific and General Deterrence

        A significant sentence of imprisonment is warranted to deter others similarly situated to

the defendant from becoming involved in drug dealing. Those in the defendant’s position must

understand that any involvement with drug distribution will not go unpunished and the

consequences will be substantial. Others must also recognize that distributing counterfeit

prescription pills is a significant priority for federal prosecution and will lead to a serious period

of imprisonment.

        Considerations of specific deterrence also support imposition of a significant period of

incarceration. This is not the first time the defendant is incarcerated for drug dealing. This time, a

more serious term of imprisonment is warranted, not only because of his prior criminal history,

but because did so while on probation for drug dealing. The sentence recommended by the

parties is hopefully sufficient to deter the defendant from resuming a life of drug dealing when

he re-enters public life.

        III.    CONCLUSION

        The parties’ sentencing recommendation takes into account the various factors set forth in

§ 3553(a) and the sentencing guidelines. The United States recommends with the defendant that




                                                   3
         Case 1:22-cr-10136-DPW Document 31 Filed 01/24/23 Page 4 of 5




the Court sentence the defendant to 120 months in prison to be followed by 5 years of supervised

release, and that the defendant be ordered to pay a mandatory special assessment of $100.

                                                    Respectfully submitted,

                                                    RACHAEL S. ROLLINS
                                                    United States Attorney

                                            By:     /s/ Philip Cheng
                                                    Philip C. Cheng
                                                    Assistant U.S. Attorney
                                                    1 Courthouse Way, Suite 9200
                                                    Boston, MA 02210

Dated: January 24, 2023




                                               4
         Case 1:22-cr-10136-DPW Document 31 Filed 01/24/23 Page 5 of 5




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and copies will be sent to those indicated as non-registered participants.


                                              /s/ Philip Cheng
                                              Philip C. Cheng
                                              Assistant United States Attorney

Date: January 24, 2023




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